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January 14, 2022
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VIA ECF AND EMAIL (cronannysdchambers@nysd.uscourts.gov)

The Honorable John P. Cronan
United States District Judge
Southern District of New York
500 Pearl Street, Room 1320
New York, NY 10007

RE:                    Diggin’ Your Dog, LLC v. Petlab Co. and Amplify LTD, Case No. 1:21-cv-8667-JPC-RWL

Dear Judge Cronan:

We are counsel for Plaintiff Diggin’ Your Dog, LLC (“Plaintiff”) in the above-referenced case against
Defendants Petlab Co. (“Petlab”) and Amplify LTD. (“Amplify”). We are writing to provide the Court
with a status report with respect to this matter.

On December 20, 2021, we wrote to the Court on behalf of PetLab requesting an extension of time of
thirty (30) days for Petlab to answer or otherwise respond to the Complaint. (Dkt. 20). The purpose of
the requested extension was to provide the parties with additional time to explore a possible
settlement. On December 21, 2021, the Court issued an order granting that request, and ordering
Defendants to answer or otherwise respond to the Complaint by December 29, 2021. (Dkt. 21).

Plaintiff initially provided its settlement proposal to PetLab on November 30, 2021. On December 10,
2021, Plaintiff reminded PetLab that its answer or response to the Complaint was due on December
29, 2021, and inquired when Plaintiff could expect PetLab’s response to its settlement proposal. On
December 16, 2021, PetLab’s counsel responded that PetLab would revert “as soon as possible.”

On December 29, 2021 at 5:22 pm MT (7:22 pm ET) – the deadline for PetLab’s answer or response to
the Complaint – PetLab’s counsel finally responded with a settlement counterproposal and requested
an additional 14-day extension of time to answer or otherwise respond to the Complaint.

On January 6, 2022, Plaintiff emailed counsel for PetLab with a further settlement counterproposal.
Therein, Plaintiff informed PetLab that, while it would not oppose any additional request by PetLab to
the court for an extension of time to answer or otherwise respond to the Complaint, it would not
make such request on PetLab’s behalf because such a request would violate § 3(B) of Your Honor’s
individual rules of practice (which require requests for adjournments of time to be made at least 48
hours (2 business days) prior to the scheduled deadline). Additionally, Plaintiff lacks personal
knowledge of any facts and circumstances that may or may not justify PetLab’s tardy request.


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To date (i.e., one week later), Plaintiff has not received any response from PetLab. Moreover, the 14-
day extension requested by Petlab’s counsel on December 29, 2021 would have expired on January
12.

The Clerk of Court has issued a certificate of default for the only other Defendant (Amplify). (Dkt. 28).
Thus, unless we hear further from Petlab concerning this matter, we plan to seek a similar certificate
for Petlab next week followed by commencement of default judgment proceedings per § 3(D) of your
individual rules and practices.

Respectfully submitted,




Airina L. Rodrigues

cc:                    Marie Richmond, Loza & Loza, LLP (marie.richmond@lozaip.com)


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